Case 4:05-cv-00329-GKF-SH          Document 3157 Filed in USDC ND/OK on 03/31/25                   Page 1 of
                                               4



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

     STATE OF OKLAHOMA, et al.,                    )
                                                   )
                                    Plaintiffs,    )
                                                   )
     v.                                            )       Case No. 05-cv-329-GKF-SH
                                                   )
     TYSON FOODS, INC., et al.,                    )
                                                   )
                                    Defendants.    )

                 THE STATE OF OKLAHOMA’S RESPONSE IN OPPOSITION
                 TO “DEFENDANTS’ JOINT MOTION FOR LEAVE TO FILE
                       NOTICE OF SUPPLEMENTAL AUTHORITY”

          Defendants’ Joint Motion for Leave to File Notice of Supplemental Authority (Doc. No.

   3156) should be denied as City and County of San Francisco v. EPA, No. 23-753 (U.S. Mar. 4,

   2025), is neither relevant nor helpful to deciding the issues before this Court.

          Defendants acknowledge that supplemental authority should be “relevant” and “helpful.”

   See Def. Motion at 1-2 (citing Jacobs v. Guardian Life Ins. Co. of Am., 730 F. Supp. 2d 830, 844

   (N.D. Ill. 2010)). The proposed supplemental authority is neither. Specifically, San Francisco

   is a point source pollution permitting case arising under the Clean Water Act (“CWA”). In

   contrast, as this Court has previously recognized, the State’s case here is a nonpoint source

   pollution case which in no way implicates the CWA’s point source permitting provisions. See

   Doc. No. 2979 at COL No. 37 (“At issue here are nonpoint source discharges. In American

   Wildlands v. Browner, 260 F.3d 1192, 1193-94 (10th Cir. 2001), the Tenth Circuit recognized

   that nonpoint source discharges are not defined by the Clean Water Act and that ‘[r]ather than

   vest the EPA with authority to control nonpoint sources through a permitting process, Congress




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Case 4:05-cv-00329-GKF-SH          Document 3157 Filed in USDC ND/OK on 03/31/25                   Page 2 of
                                               4



   required states to develop water quality standards for intrastate waters.’ Id.”) (emphasis in

   original).1 San Francisco is thus entirely off-point.

          Should the Court grant Defendants’ motion for leave, the State should be granted leave to

   file a substantive response to Defendants’ proposed filing. Defendants have indicated in their

   motion for leave that they have no objection to the State filing a substantive response. See Def.

   Motion at 4.

   March 31, 2025

                                                        Respectfully Submitted,



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   1
    Underscoring its irrelevancy to the issues to be decided by this Court, regulation of nonpoint
   source pollution is not even mentioned in San Francisco.
                                                    2
Case 4:05-cv-00329-GKF-SH   Document 3157 Filed in USDC ND/OK on 03/31/25            Page 3 of
                                        4



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                                         3
Case 4:05-cv-00329-GKF-SH          Document 3157 Filed in USDC ND/OK on 03/31/25                Page 4 of
                                               4



                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 31st day of March, 2025, I electronically transmitted the

   foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a

   Notice of Electronic Filing to the ECF registrants with entries of appearance filed of record.




                                                              GENTNER DRUMMOND




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